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 UNITED STATES BANKRUPTCY FOR THE
 DISTRICT OF DELAWARE
 In re:                                                   Chapter 11

 Akorn Inc., et al.                                       Lead Case No. 20-11177-KBO
                                                          Honorable Karen B. Owens
                Jointly Administered Debtors.

                               CERTIFICATION OF SERVICE

1.     I, Leslie B. Spoltore represent the creditor in this matter.
2.     On August 28, 2020, I sent a copy of the following pleadings and/or documents to the
       parties listed in the chart below:
            Motion to Seal with Exhibits
            Proposed Order
            Notice of Motion
3.     I hereby certify under penalty of perjury that the above documents were sent to counsel
       for the Debtors, counsel for all Committees, the United States Trustee, all parties with an
       interest in the requested relief and all parties receiving notice by CM/EFC.

                                      Respectfully submitted,
Dated: August 28, 2020
       Wilmington, Delaware
                                            By: /s/Leslie B. Spoltore
                                               Leslie B. Spoltore, Esquire (DE Bar No. 3605)
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                                               -and-

                                               Edmond M. George, Esquire (pro hac vice)
                                               Michael D. Vagnoni, Esquire (pro hac vice)
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                        and Welfare Fund, 1199SEIU National Benefit
                        Fund, 1199SEIU Greater New York Benefit Fund,
                        1199SEIU National Benefit Fund for Home Care
                        Workers, 1199SEIU Licensed Practical Nurses
                        Welfare Fund and Sergeants Benevolent
                        Association Health and Welfare Fund




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